39 F.3d 1178
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Horace SAPP, Petitioner Appellant,v.STATE of South Carolina;  T. Travis Medlock, AttorneyGeneral of the State of South Carolina,Respondents Appellees.
    No. 94-6665.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994.Decided Nov. 14, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  G. Ross Anderson, Jr., District Judge.  (CA-93-2648-3-3AK).
      Horace Sapp, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Sapp v. South Carolina, No. CA-93-2648-3-3AK (D.S.C. May 4, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    